Case 2:16-cr-20439-MFL-DRG ECF No.1 filed 06/17/16 PagelD.1 ¢€ i¢
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

v.

CYNTHIA FLOWERS,
Defendant.

 

 

 

Case:2:16-cr-20439

Judge: Leitman, Matthew F.
MJ: Grand, David R.

Filed: 06-17-2016 At 10:05 AM
INFO USA v FLOWERS (sk)

INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

COUNT ONE |
31 U S.C. § 5324(a)(L) and/or (a) (3)
(Structuring Transactions to Evade Reporting Requirements)

1. From approximately July 2013 until approximately June 2015, in the Eastern

District of Michigan, Southern Division, defendant CYNTHIA FLOWERS, for

the purpose of evading the reporting requirements of section 5313 or 5325, did

cause or attempt to cause a domestic financial institution to fail to file a report

required under section 5313 or 5325 or any regulation prescribed under any

such section, and/or structured or assisted in structuring or attempted to
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structure or assisted in structuring, any transaction with one or more domestic
financial institutions.

. On multiple occasions from August of 2010 through June of 2013, FLOWERS
purchased money orders at different U.S. Post Offices (USPQ) in the Metro
Detroit area using cash totaling $3,000 or more at a single post office. On those
occasions, the U.S. Postal Service (USPS) was required under Title 31 of the
United States Code to report the cash transactions to the U.S. Department of
Treasury since they involved $3,000 or more in currency. To fulfill the
reporting requirement, the post office completed and filed a Funds Transaction
Report (Form 8105-A) with information from the purchaser.

. FLOWERS’s pattern of purchasing, USPS money orders changed starting in
March of 2013 and continuing through May of 2015. During that time, there
were multiple occasions when FLOWERS used $3,000 or more in cash to
purchase money orders within days of one another, or on the same day but at
different USPQOs to ensure that no one USPO received $3,000 or more on the
same day.

. In total, FLOWERS purchased 168 money orders totaling $154,700 during the
above period and structured her purchases in the above described manner,

which was designed to evade currency transaction reporting requirements.
 

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5. All in violation of Title 31, United States Code, Section 5324(a)(1) and/or

(a)(3).

Dated: June 17, 2016

Barbara L. McQuade
United States Attorney

AL

John K. Neal
Assistant U.S. Attorney
Chief, White Collar Crime Unit

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ee flame
Abed Hammoud

Assistant U.S. Attorney
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United States District Court Criminal Case Cover MJ: Grand, David R.
Eastern District of Michigan Filed: 06-17-2016 At 10:05 AM

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NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

 

 

 

 

Companion Case Information Companion Case Number:

This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:
L] ves No AUSA’s Initials: vee —

Case Title: USA v. CYNTHIA FLOWERS

 

 

 

 

 

County where offense occurred : Wayne and Oakland Counties

Check One: Felony L]Misdemeanor LlPetty
Indictment/__¥_Information -- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR 57.10 {d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: Judge:

 

[]Corrects errors; no additional charges or defendants.
[_]!nvolves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

 

 

June 17, 2016 < LE yA
Date Abed Hammoud

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or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

|
| Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
| even though one of them may have already been terminated.

R/te
